        Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 1 of 8



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


CHRISTOPHER R. GERARDI and
VICKIE A. GERARDI,
                                      Plaintiffs,            COMPLAINT
                                                             1:16-cv-01092 (DNH-DJS)

        -against-

AMICA MUTUAL INSURANCE COMPANY,
                                      Defendant.


        Plaintiffs Christopher R. Gerardi and Vickie A. Gerardi, by and through their attorneys,

Smith Hoke PLLC, alleges as follows:


                                         THE PARTIES

   1.    Plaintiffs Christopher R. Gerardi and Vickie A. Gerardi are both individuals domiciled in

        the State of Maine.

   2. Upon information and belief, Defendant Amica Mutual Insurance Company (“Amica”) is

        a corporation incorporated pursuant to the laws of the state of Rhode Island, and

        maintains its principal place of business within the state of Rhode Island.

                                 JURISDICTION AND VENUE

   3.    This is an action brought by the Plaintiffs against the Defendant for declaratory relief,

        breach of contract, bad faith, and unfair claim settlement practices in violation of New

        York State General Business Law §349 for Amica’s failure to pay for damages incurred

        by Plaintiffs and to Plaintiff’s property located at 229 Beaver Dam Road, Voorheesville,

        New York, under homeowner’s policy #650131-20LU as the result of a May 13, 2014

        fire loss.
   Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 2 of 8



4. Plaintiff seeks relief of money damages in the amount of $455,835.46, together with

   interest from May 13, 2014, with attorney’s fees, costs, and punitive damages.

5. Upon information and belief, the Court has diversity jurisdiction over this action pursuant

   to 28 U.S.C. §1332(a), as the parties are citizens of different states and the amount in

   controversy exceeds the jurisdictional threshold.

6. Venue is proper in the Northern District of New York pursuant to 28 U.S.C. 1391(b)(2),

   as the property at issue is located in Albany County.

                                 JURY TRIAL DEMAND

7. To the extent Plaintiffs are entitled to a jury trial, a jury trial is herein demanded.

                               FACTUAL ALLEGATIONS

8. On or about January 12, 2014, Amica issued to the Plaintiffs a Homeowner’s Insurance

   Policy, policy #650131-20LU (hereinafter “insurance policy” and annexed hereto as

   Exhibit A), for which premiums were faithfully and timely paid.

9. The insurance policy provided coverage for the dwelling located at 229 Beaver Dam

   Road, Voorheesville, New York (“229 Beaver Dam Road” or “the property”), personal

   property, and additional living expenses. Ex. A p. 23.

10. The Plaintiff had full replacement cost coverage for damage sustained to the dwelling up

   to $394,000.00. He also purchased the Coverage A Endorsement, which allowed for an

   additional 30% of coverage for the dwelling, or $118,200.00, which could be utilized if

   the replacement cost coverage was not sufficient to rebuild the home to like kind and

   quality. Ex. A p. 25.

11. The policy also included coverage for damage sustained to Plaintiff’s personal property

   for up to $295,500.00. Ex. A p. 23.
   Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 3 of 8



12. The policy also included coverage for any necessary additional living expenses, or loss of

   use, for up to $118,200.00. Ex. A p. 23.

13. On or about May 13, 2014, a fire occurred, completely destroying the Plaintiff’s home at

   229 Beaver Dam Road.

14. At the time of the fire, Plaintiffs were the owner and titleholders of the property.

15. At the time of the fire, 229 Beaver Dam Road was covered property under the insurance

   policy.

16. Upon information and belief, the Plaintiffs timely notified the Defendant of the loss of

   the property.

17. Upon information and belief, the Plaintiffs filed claims for approximately $504,596.44

   for the dwelling, $295,500.00 for personal property, and $118,200.00 for loss of use, for

   a total of $918,296.44.

18. Upon information and belief, the Plaintiffs’ claims were all legitimate and fully itemized.

19. Upon information and belief, the Plaintiffs performed each and every covenant, promise

   or duty which they were required to perform under the terms of the insurance policy.

20. The Defendant did not pay the Plaintiffs for the entirety of their claims.

21. Upon information and belief, the Defendant paid the Plaintiffs approximately

   $462,460.98, or $455,835.46 less than Plaintiff’s claim.

22. Upon information and belief, because Defendants delayed approving certain claims and

   wrongfully disclaimed coverage, Plaintiffs have been unable to rebuild their home and

   have been forced to pay for additional living expenses.
   Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 4 of 8



23. The home was demolished on the Defendant’s recommendation, with just the sub-floor

   remaining. The delays and disclaiming of coverage caused the sub-floor of the house to

   sustain damage due to exposure to the elements.

24. Upon information and belief, Defendant informed Plaintiffs that they would pay for

   storage fees, yet in December of 2014 they stopped paying such fees. Plaintiffs have paid

   for storage fees since December of 2014, and continue to do so.

25. Defendant deceived Plaintiffs when it represented that they would continue to pay for

   Plaintiffs’ comparable housing, when they, in fact, did not.

26. As a result of Defendant’s delays and wrongful disclaiming of coverage, Plaintiff has

   suffered further consequential damages, including having been forced to pay his

   mortgage and interest on that mortgage for a home that does not exist.

27. Defendant knowingly, willfully, and wrongfully disclaimed coverage in violation of its

   contract and in violation of the laws of the State of New York.

28. Defendant has failed and refused to carry out its obligations under the contract.

AS FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT AMICA MUTUAL
            INSURANCE COMPANY: DECLARATORY RELIEF

29. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in Paragraphs

   “1” through “28” as if fully set forth herein.

30. The insurance policy attached as Exhibit A was in full force and effect at the time of the

   fire described above.

31. The fire damage to the dwelling is a covered loss under the terms of the insurance policy,

   as are the damages to personal property and the additional living expenses.

32. The Plaintiffs fully performed their obligations under the insurance policy.

33. Defendant wrongfully disclaimed overage under the insurance policy for the property.
   Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 5 of 8



34. A Declaratory Judgment should, therefore, be issued that the Defendant is obligated to

   provide coverage for the entirety of the claimed loss to the dwelling, personal property,

   and additional living expenses pursuant to the terms of the insurance policy.


     AS FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANT AMICA
         MUTUAL INSURANCE COMPANY: BREACH OF CONTRACT
35. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in Paragraphs

   “1” through “34” as if fully set forth herein.

36. The insurance policy attached as Exhibit A was in full force and effect at the time of the

   fire described above.

37. The fire damage to the dwelling is a covered loss under the terms of the insurance policy,

   as are the damages to personal property and the additional living expenses.

38. The Plaintiffs fully performed their obligations under the insurance policy.

39. Defendant wrongfully disclaimed overage under the insurance policy.

40. Defendant’s wrongful disclaimer of coverage for the dwelling, personal property, and

   additional living expenses under the insurance policy is a breach of the insurance contract

   at issue.

41. Defendant’s wrongful breach of contract has denied Plaintiffs compensation for the

   damages sustained that they are entitled to receive.

42. Defendant’s wrongful breach caused consequential damages, including, among other

   things, interest on Plaintiff’s mortgage and storage fees.

43. Defendant’s willful and intentional acts and violations of the contract of insurance

   warrant the imposition of monetary damages for breach of contract in the amount of

   $455,835.46, together with interest, and consequential damages such as, among other

   things, storage fees and interest on Plaintiff’s mortgage.
   Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 6 of 8



44. Defendant’s wrongful breach of contract has required Plaintiffs to obtain legal counsel to

   enforce their rights under the insurance contract.

45. Substantial legal fees have already been incurred and will continue to accrue.

46. Defendant’s willful and intentional acts and violations of the contract of insurance

   warranty the imposition of attorneys’ fees and punitive damages.

        AS FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANT AMICA
                  MUTUAL INSURANCE COMPANY: BAD FAITH

47. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in Paragraphs

   “1” through “46” as if fully set forth herein.

48. Pursuant to New York Insurance Law §2601(a), each and every insurance policy sold by

   Defendant carries with it a duty to its clients of good faith and fair dealing.

49. Defendant, in bad faith, knowingly, willfully, and wrongfully disclaimed coverage in

   violation of its contract.

50. By Defendant’s wrongful disclaimer of coverage and breach of contract, Plaintiff has

   been damaged.

51. Defendant’s wrongful disclaimer of coverage and breach of contract were grossly

   negligent, reckless and wanton and said acts were undertaken by Defendant solely to

   protect its own pecuniary interests, without regard to its obligations under the insurance

   policy or Plaintiffs’ interests.

52. As a result of said breaches, Defendant is liable to the Plaintiffs for punitive and

   compensatory damages, and for all costs of adjusting, investigation, damages, costs and

   payments, including attorney and other professional fees, and all other sums incurred to

   date by Plaintiffs, with interest, in addition to those sums which may be incurred in the

   future until Plaintiffs’ rights are honored and paid.
    Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 7 of 8



AS FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANT AMICA MUTUAL
    INSURANCE COMPANY: VIOLATION OF NEW YORK STATE GENERAL
                        BUSINESS LAW §349


 53. Plaintiffs repeat, reiterate, and reallege each and every allegation contained in Paragraphs

    “1” through “52” as if fully set forth herein.

 54. Defendant has engaged in unfair claim settlement practices and deceptive acts or

    practices in the conduct of furnishing services in the state by knowingly, willfully, and

    wrongfully disclaiming coverage in violation of a contract.

 55. The Defendant’s acts were consumer-oriented, in that they induced members of the

    general public to purchase insurance policies, while knowingly, willfully, and wrongfully

    deceiving their clients and disclaiming coverage in violation of such contracts.

 56. Upon information and belief, this conduct is recurring in the state and has ramifications

    for the general public, who rely on the Defendant to refrain from deceptive acts and

    practices.

 57. Plaintiff is a person who has been injured by Defendant’s violation of New York General

    Business Law §249, and seeks to recover actual damages.

 58. Defendant willfully and knowingly violated of New York General Business Law §349,

    and therefore Plaintiff is entitled to punitive damages and attorney’s fees.


 WHEREFORE, Plaintiffs Christopher R. Gerardi and Vickie A. Gerardi demand judgment

 against Defendant Amica Mutual Insurance Company as follows:


    1. A declaration that Plaintiffs are entitled to coverage for the fire damage to their

        dwelling and personal property, along with coverage for additional living expenses,

        under the insurance policy from Defendant Amica Mutual Insurance Company;
      Case 1:16-cv-01092-DNH-DJS Document 14 Filed 10/24/16 Page 8 of 8



      2. A finding that Defendant Amica Mutual Insurance Company’s disclaimer of coverage

          under the insurance policy constitutes a breach of contract thereby entitling Plaintiffs

          to compensatory damages in the amount of $455,835.46, together with interest and

          other consequential damages;

      3. An award of costs in the form of reimbursement for actual expenses reasonably

          incurred, with interest, reasonable attorney’s fees and damages resulting from

          Defendant Amica Mutual Insurance Company’s wrongful disclaimer and breach of

          contract;

      4. An award of punitive damages against Defendant Amica Mutual Insurance Company

          for its wrongful disclaimer of coverage issued in bad faith and violation of New York

          General Business Law §349; and

      5. Further relief as may be just and proper.




Dated: October 24, 2016


      Albany, New York


                                                     SMITH HOKE, PLLC


                                                     /s/ Meredith A. Moriarty____
                                                     Meredith A. Moriarty, Esq.,
                                                     Bar Roll Number: 512499
                                                     Attorney for the Plaintiff
                                                     7 Southwoods Blvd., Ste. 103
                                                     Albany, New York 12211
                                                     Tel. No.: (518)489-5600
